                                                            IT IS ORDERED
                                                            Date Entered on Docket: November 5, 2020




                                                            ________________________________
                                                            The Honorable Robert H Jacobvitz
                                                            United States Bankruptcy Judge
______________________________________________________________________



                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW MEXICO


  In Re:                                                    Case No.: 20-11780-j7

  Francisco Casales and                                     Chapter: 7
  Sonia Esther Regaldo Casales,

                        Debtor(s).



      DEFAULT ORDER GRANTING MOTION FOR RELIEF FROM STAY AND TO
      ABANDON PERSONAL PROPERTY KNOWN AS 2019 TOYOTA SIENNA, VIN
                         #5TDKZ3DC6KS982069

           This matter came before the Court on the Motion for Relief from Automatic Stay and to

  Abandon Personal Property filed on October 6, 2020, Docket No. 13 (the "Motion") by Toyota

  Motor Credit Corporation, its successors and assigns ("Movant"). The Court, having reviewed

  the record and the Motion, and being otherwise sufficiently informed, FINDS:

           1.     On October 6, 2020, Movant served the Motion and a Notice of the Motion (the

  "Notice") on the case Trustee, Philip J. Montoya ("Trustee"), by use of the Court's case
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management and electronic filing system for the transmission of notices, as authorized by

Fed.R.Civ.P. 5(b)(3) and NM LBR 9036-1, and on Pro Se Debtors by United States first class

mail, in accordance with Bankruptcy Rules 7004 and 9014.

        2.      The Motion relates to the personal property known as 2019 Toyota Sienna, VIN

#5TDKZ3DC6KS982069 (the "Collateral"). The Notice specified an objection deadline of 21

days from the date of service of the Notice, to which 3 days was added under Bankruptcy Rule

9006(f);

        3.      The Notice was sufficient in form and content;

        4.      The objection deadline expired on October 30, 2020;

        5.      As of neither Debtors nor Trustee, nor any other party in interest, filed an

objection to the Motion;

        6.      The Motion is well taken and should be granted as provided herein; and

by submitting this Order to the Court for entry, the undersigned counsel for Movant certifies

under penalty of perjury that, on November 3, 2020, Teresa M. Perry of Weinstein & Riley, P.S.

searched the data banks of the Department of Defense Manpower Data Center ("DMDC") and

found that DMDC does not possess any information indicating that Francisco Casales and Sonia

Esther Regaldo Casales are currently on active military duty of the United States.

        IT IS THEREFORE ORDERED:

        1.      Pursuant to 11 U.S.C. §362(d), Movant and any and all holders of liens against

the Collateral, of any lien priority, are hereby are relief from the automatic stay to permit Movant

to exercise its right to take any and all action necessary and appropriate to enforce Movant's

interest against the Collateral, including, but not limited to, the right to repossess and liquidate its

Collateral and applicable State law.


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       2.       The Trustee is deemed to have abandoned the Collateral from the estate pursuant

to 11 U.S.C. §554 as of the date of entry of this Order, and the Collateral therefore no longer is

property of the estate. As a result, Movant need not name Trustee as a defendant in any state

court action it may pursue to repossess and liquidate liens against the Collateral and need not

notify Trustee of any sale of the Collateral.

       3.       This Order does not waive Movant's claim against the estate for any deficiency

owed by Debtors after any repossession sale or other disposition of the Collateral. Movant may

file an amended proof of claim for this bankruptcy case within 30 days after a repossession sale

of the Collateral should it claim that Debtors owe any amount after the sale of the Collateral.

       4.       This Order shall continue in full force and effect if this case is dismissed or

converted to a case under another chapter of the Bankruptcy Code.

       5.       This order is effective and enforceable upon entry. The 14-day stay requirement

of Fed.R.Bankr.P. 4001(a)(3) is waived.

       6.       Movant is further granted relief from the stay to engage in reaffirmation

discussions or negotiations or other settlement discussions with Debtors and to enter into a loan

reaffirmation with Debtor(s).

                                   XXX END OF ORDER XXX
Submitted by:


/s/ Elizabeth V. Friedenstein
Elizabeth V. Friedenstein
Weinstein & Riley, P.S.
2501 San Pedro Drive NE Bldg A Suite 102
Albuquerque, NM 87110
Direct: 505-348-3075
Fax: 505-214-5116
Email: ElizabethF@w-legal.com
Attorney for Movant


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Copies to:

Pro Se Debtors:
Franciso Casales
Sonia Esther Regaldo Casales
1890 El Portal Road SE
Deming, NM 88030

Philip J. Montoya
1122 Central Avenue SW, Suite 3
Albuquerque, NM 87102
Trustee

U.S. Trustee
United States Trustee
PO Box 608
Albuquerque, NM 87103-0608




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